          Case 2:18-cv-05187-CJB-KWR Document 35 Filed 08/15/22 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

DORY TURNIPSEED                           *     CIVIL ACTION NO.:
                                          *     2:18-cv-5187
VERSUS                                    *
                                          *     SECTION: “J” (4)
APMT, LLC D/B/A                           *
“TONTI MANAGEMENT”                         *    JUDGE CARL J. BARBIER
                                          *
                                          *     MAGISTRATE JUDGE
                                          *     KAREN WELLS ROBY
                                          *
                                          *     JURY TRIAL REQUESTED
**********************************************************************************

        DEFENDANT’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 41(b)
                       FOR FAILURE TO PROSECUTE

        NOW INTO COURT, through undersigned counsel, comes defendant, APMT, LLC D/B/A

“TONTI MANAGEMENT,” (hereinafter “Tonti” or defendant), who, for the reasons for more fully

articulated in the accompanying Memorandum in Support, appears herein for the limited purpose of

praying for an Order dismissing this action, with prejudice, pursuant to Fed. R. Civ. P. 41(b) for failure

to prosecute.

        WHEREFORE, Tonti prays for an Order dismissing the instant proceeding with prejudice

pursuant to Fed. R. Civ. P. 41(b) as a result of Plaintiff’s failure to prosecute this action.

Date: August 15, 2022                           Respectfully submitted,



                                                /s/ James C. Rather, Jr.
                                                JAMES C. RATHER, JR. (#25839), T.A.
                                                ALKER & RATHER, LLC
                                                4030 Lonesome Road, Suite B
                                                Mandeville, LA 70448
                                                Telephone: (985) 727-7501
                                                Fax No.: (985) 727-7505
                                                ATTORNEY FOR DEFENDANT
         Case 2:18-cv-05187-CJB-KWR Document 35 Filed 08/15/22 Page 2 of 2




                                    CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing has been served via the Court’s CM/ECF system to

all counsel of record, this 15th day of August, 2022.


                                              /s/ James C. Rather, Jr.
                                              JAMES C. RATHER, JR
